Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                              Case No. 9:24-cv-80395-RLR-BER



  DR. JEFFREY ISAACS,

       Plaintiff,

  v.

  GOOGLE LLC,

     Defendant.
  ____________________________________________



                      DEFENDANT GOOGLE’S MOTION TO DISMISS FOR
                    LACK OF STANDING AND FAILURE TO STATE A CLAIM
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 2 of 22




                                                      TABLE OF CONTENTS
  TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii
  INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
  BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
  A.        Greenflight Sues Whitepages.com, Asserting U.S. Patent No. 8,861,698 . . . . . . . . . . . . . 2
  B.        Greenflight Applies for a Reissue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .3
  C.        The RE’847 Claims a Specific User-Initiated Reverse Call Lookup System . . . . . . . . . . 4
  D         Isaacs, Greenflight’s CEO, Initiates This Action Pro Se . . . . . . . . . . . . . . . . . . . . . . . . . . 5
  E.        The Complaint Alleges Only One Application That Practices the Invention of
            RE’847: Greenflight’s Own “OkCaller” Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
  F.        The Complaint Does Not Identify Any Google Device, Application, or Systems—or
            Any Third Party Device, Application, or System—Isaacs Alleges to Infringe the
            RE’847 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
  G.        The Complaint Alleges Infringement of Canceled Claims . . . . . . . . . . . . . . . . . . . . . . . . 7
  ARGUMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  I.        The Court Lacks Subject Matter Jurisdiction Where, As Here, The Plaintiff Lacks
            Standing to Assert the Patent in Suit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  II.       The Complaint Also Fails to State a Claim for Relief Under 12(b)(6) . . . . . . . . . . . . . . . 9
            A.         Plaintiff’s Direct Infringement Claims Should be Dismissed . . . . . . . . . . . . . . . 11
            B.         The Court Should Dismiss Plaintiff’s Claims Regarding Canceled Claims 1-6
                       With Prejudice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
            C.         The Court Should Dismiss Plaintiff’s Indirect Infringement Claims . . . . . . . . . . 12
            D.         Plaintiff Does Not Allege Facts to Support Claims of Willful Infringement . . . . 14
  CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15




                                                                         –i–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 3 of 22




                                                TABLE OF AUTHORITIES

                                                                 Cases                                                          Pages
  Abraxis Biosciences, Inc. v. Navinta LLC,
         625 F.3d 1359 (Fed. Cir. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Addiction & Detoxification Inst. LLC v. Carpenter,
         620 F. App’x 934 (Fed. Cir. 2015) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  Ashcroft v. Iqbal,
         556 U.S. 662 (2009) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  Askan v. Faro Techs., Inc.,
         No. 23-920, 2023 WL 8868494 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10, 11
  Azure Networks, LLC v. CSR PLC,
         771 F.3d 1336 (Fed. Cir. 2014), vacated on other grounds, 575 U.S. 959 (2015) . . . . . . . 8
  Baggage Airline Guest Servs., Inc. v. Roadie, Inc.,
        No. 17-1253, 2017 WL 10084146 (M.D. Fla. Sept. 1, 2017) . . . . . . . . . . . . . . . . . . . . . . 9
  Barrday, Inc. v. Lincoln Fabrics Inc.,
        No. 22-1903, 2022 WL 7871688 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
  Bedwell v. Braztech Intl., L.C.,
        No. 17-22335, 2017 WL 4810599 (S.D. Fla. Oct. 25, 2017) . . . . . . . . . . . . . . . . . . . . . . 10
  Boldstar Tech., LLC v. Home Depot U.S.A., Inc.,
         560 F. Supp. 2d 1275 (S.D. Fla. 2008) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Cobra Int’l, Inc. v. BCNY Int’l, Inc.,
         No. 05-61225, 2015 WL 10793137 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  CR Bard, Inc. v. Advanced Cardiovascular Sys.,
        911 F.2d 670 (Fed. Cir. 1990) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  DeCurtis LLC v. Carnival Corp.,
        No. 20-22945, 2021 WL 7539904 (S.D. Fla. Feb. 9, 2021) . . . . . . . . . . . . . . . . . . . . . . . . 7
  Deere & Co. v. AGCO Corp.,
        No. 18-827, 2019 WL 668492 (D. Del. Feb. 19, 2019) . . . . . . . . . . . . . . . . . . . . . . . . . . 15
  DSU Med. Corp. v. JMS Co.,
       471 F.3d 1293 (Fed. Cir. 2006) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  Enplas Display Device Corp. v. Seoul Semiconductor Co., Ltd.,
         909 F.3d 398 (Fed. Cir. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12




                                                                   – ii –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 4 of 22




                                                 TABLE OF AUTHORITIES
                                                       (continued)

                                                                   Cases                                                             Pages
  Erickson v. Pardus,
         551 U.S. 89 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  Fresenius USA, Inc. v. Baxter Int’l, Inc.,
         721 F.3d 1330 (Fed. Cir. 2013) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
  Gaia Techs., Inc. v. Reconversion Techs., Inc.,
         93 F.3d 774 (Fed. Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Glob. Tech LED, LLC v. Every Watt Matters, LLC,
         No. 15-61933, 2016 WL 6682015 (S.D. Fla. May 19, 2016) . . . . . . . . . . . . . . . . . . .10, 14
  Griffin v. Internal Revenue Serv.,
          No. 22-24023, —F. Supp. 3d —, 2024 WL 1717393 (S.D. Fla. Apr. 22, 2024) . . . . . . . . 8
  Hawk Tech. Sys. v. Brickell Fin. Ctr.,
        No. 13-24005, 2014 WL 11946879 (S.D. Fla. Feb. 27, 2014) . . . . . . . . . . . . . . . . . . . . . 11
  Hewlett-Packard Co. v. Bausch & Lomb Inc.,
         909 F.2d 1464 (Fed. Cir. 1990) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
  In re Bill of Lading Transmission & Processing Sys. Pat. Litig.,
          681 F.3d 1323 (Fed. Cir. 2012) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  Intell. Prop. Dev., Inc. v. TCI Cablevision of Cal., Inc.,
           248 F.3d 1333 (Fed. Cir. 2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Intell. Ventures I LLC v. Motorola Mobility LLC,
           870 F.3d 1320 (Fed. Cir. 2017) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
  Israel Bio-Eng’g Project v. Amgen, Inc.,
          475 F.3d 1256 (Fed. Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Lawrence v. Dunbar,
        919 F.2 1525 (11th Cir. 1990) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Lead Creation, Inc. v. P’ships & Unincorporated Ass’ns Identified on Schedule A,
        No. 23-49, 2023 WL 168779 (M.D. Fla. Jan. 12, 2023) . . . . . . . . . . . . . . . . . . . . . . . . . .10
  Lone Star Silicon Innovations LLC v. Nanya Tech. Corp.,
         925 F.3d 1225 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  mCom IP, LLC v. City Nat’l Bank of Fla.,
       No. 23-23427, 2024 WL 2892007 (S.D. Fla. June 10, 2024) . . . . . . . . . . . . . . . . . . . 3, 11




                                                                     – iii –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 5 of 22




                                               TABLE OF AUTHORITIES
                                                     (continued)

                                                               Cases                                                         Pages
  Morrow v. Microsoft Corp.,
        499 F.3d 1332 (Fed. Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Nalco Co. v. Chem-Mod, LLC,
         883 F.3d 1337 (Fed. Cir. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
  nCube Corp. v. Seachange Int’l, Inc.,
        436 F.3d 1317 (Fed. Cir. 2006) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  OSI, Inc. v. U.S.,
         285 F.3d 947 (11th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Ottah v. Fiat Chrysler,
         884 F.3d 1135 (Fed. Cir. 2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
  Sentry Protection Prod. v. Eagle Mfg.,
         400 F.3d 910 (Fed. Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
  SFM Holdings, Ltd. v. Banc of Am. Sec.,
       600 F.3d 1334 (11th Cir. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  Software Brokers of Am. Inc. v. Doticom Corp.,
         484 F. Supp. 3d 1205 (S.D. Fla. 2020) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Textile Prods., Inc. v. Mead Corp.,
          134 F.3d 1481 (Fed. Cir. 1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Thermolife Int’l, LLC v. Vitamin Shoppe, Inc.,
        No. 16-60693, 2016 WL 6678525 (S.D. Fla. June 8, 2016) . . . . . . . . . . . . . . . . . . . .10, 12
  Toxgon Corp. v. BNFL, Inc.,
        312 F.3d 1379 (Fed. Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  Trebor Indus., Inc. v. Regatta AS,
         No. 10-60371, 2010 WL 11505130 (S.D. Fla. June 15, 2010) . . . . . . . . . . . . . . . . . . . . . 14
  Universal City Studios v. Nissim Corp.,
         No. 14-81344, 2015 WL 1124704 (S.D. Fla. Mar. 12, 2015) . . . . . . . . . . . . . . . . . . . . . .15
  Viskase Corp v. Am. Nat. Can Co.,
         261 F.3d 1316 (Fed. Cir. 2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3




                                                                 – iv –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 6 of 22




                                                 TABLE OF AUTHORITIES
                                                       (continued)

                                                   Other Authorities                                                                 Pages
  Fed. R. Civ. Pro. 12(b)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 15
  Fed. R. Civ. Pro. 12(b)(6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 2, 10, 12, 15
  Fed. R. Civ. Pro. 12(b)(7) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
  Fed. R. Civ. Pro. 12(h)(3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                          Other Proceedings
  Whitepages, Inc. v. Greenflight Ventures Corp.,
        No. 16-175, (N.D. Cal.). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2, 3
  Whitepages, Inc. v. Greenflight Venture Corp.,
        698 F. App’x 613 (Fed. Cir. 2017) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3




                                                                      –v–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 7 of 22




                                          INTRODUCTION

         Pro se plaintiff Jeffrey Isaacs filed this action on April 1, 2024, asserting U.S. Patent No.

  RE48,847 against Google LLC. Docket No. 1. The complaint admits that the plaintiff does not

  own the patent outright, but claims only “a substantial percentage of ownership in the reissue

  patent” and “majority ownership of the US Reissue Patent #48,847 directly and/or indirectly

  through corporate entities that he controls.” Id. ¶¶ 27, 53. In fact, Greenflight Venture

  Corporation, not Isaacs, is the applicant and owner of the RE’847, as confirmed by the patent

  itself, Isaacs’ sworn statements to the U.S. Patent and Trademark Office, and the complaint,

  which alleges some “percentage” ownership “indirectly through corporate entities that [Isaacs]

  controls.” Isaacs accordingly lacks standing to bring this action, and Google respectfully

  requests that the Court dismiss it under Fed. R. Civ. P. 12(b)(1).

         Should the Court find that Isaacs has constitutional standing to assert the RE’847 even

  though he does not own the patent in suit, the Court should nevertheless dismiss this action under

  Fed. R. Civ. P. 12(b)(6), because the complaint fails under the most generous application of the

  Twombly pleading standard. The complaint alleges that Google infringes claims “1-10” of

  reissued U.S. Patent No. RE48,847 by “directly selling infringing apps to consumers” or

  providing a “system” that is “implemented, used, and operated at and under Defendant’s

  direction and control.” Compl. ¶¶ 71, 75. But the complaint fails to identify any allegedly

  infringing app or system by name or otherwise, and accordingly lacks any description of how

  any such app or system operates, or how Google practices any claim of the asserted patent. The

  complaint attaches no claim charts and provides no mapping of claim elements against any

  device, product, or feature. Instead, the complaint merely repeats some—but not all—language




                                                   –1–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 8 of 22




  from various claim elements and concludes without explanation that Google, or else its users,

  performs them. The complaint further asserts infringement of non-existent claims, alleges

  indirect infringement without sufficient factual allegations, and fails to provide facts sufficient to

  support a claim for willful infringement.

          To this day, Google has no idea what products or functionalities Isaacs believes to

  infringe, because the complaint does not say what they are. Google is thus left entirely in the

  dark concerning Isaacs’ allegations of infringement: the complaint lacks not only a cognizable

  theory as to how Google allegedly infringes, but further lacks a mere identification of any

  product Isaacs intends to put at issue in this action. Plaintiff’s allegations fail at every turn.

  Google thus respectfully requests that, should the Court find it has jurisdiction to proceed, the

  Court dismiss this action under Fed. R. Civ. P. 12(b)(6).

                                            BACKGROUND

  A.      Greenflight Sues Whitepages.com, Asserting U.S. Patent No. 8,861,698

          The asserted RE48,847 patent (the “RE’847”) is a reissue of U.S. Patent No. 8,861,698

  (the “’698”). Like the RE’847, the ’698 lists Jeffrey Isaacs (“Isaacs”) as the sole inventor, and is

  titled “Post-Page Caller Name Identification System.” In January 2016, Isaacs’ company,

  Greenflight Venture Corporation (“Greenflight”) attempted to license the ’698 patent to

  Whitepages, Inc. (“Whitepages”), which responded by filing a declaratory judgment action for

  non-infringement. Whitepage, Inc. v. Isaacs, No. 16-175, Docket No. 1 (N.D. Cal. Jan. 11,

  2016). On January 14, 2016, Isaacs recorded his assignment to Greenflight of the ’698 patent

  and the invention:

          described in an application for letters patent of the United States, executed by me on the
          13th day of January, 2016, and all the rights and privileges under any and all Letters
          Patent that may be granted therefore.


                                                    –2–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 9 of 22




  Ex. A (U.S.P.T.O. Assignment Reel/Frame No. 037489/0124).1

          Greenflight responded to the Whitepages action with claims of infringement, and

  Whitepages counterclaimed for a judgment of invalidity. In July 2016, the Whitepages court

  granted Whitepages’ motion for judgment on the pleadings that the ’698 patent was

  unenforceable under 35 U.S.C. § 101. Whitepages, Inc., Docket No. 48 (N.D. Cal. July 25,

  2016). Greenflight appealed, and the Federal Circuit affirmed. Whitepages, Inc. v. Greenflight

  Venture Corp., 698 F. App’x 613, 614 (Fed. Cir. 2017).

  B.     Greenflight Applies for a Reissue

         Following the Whitepages district court’s order rendering the ’698 unenforceable, on

  October 10, 2016, Isaacs applied for a reissue of the ’698 patent in the U.S. Patent and

  Trademark Office. Ex. B (RE’847 Prosecution History, Reissue Patent Application Transmittal,

  Docket No. 26 (Oct. 10, 2016)). Also on October 10, 2016, Isaacs submitted a statement under

  37 CFR 3.73(c), confirming Greenflight as “[t]he assignee of the entire right, title, and interest”

  in the reissue application. Ex. C (RE’847 Prosecution History, Assignee Showing of Ownership,

  Docket No. 17 (Oct. 10, 2016)). On December 7, 2021, the U.S.P.T.O. issued the RE’847 patent

  to Greenflight, listing Isaacs as sole inventor and Greenflight as sole applicant. Docket No. 1-2,

  Ex. A (the “RE’847”).




         1
           “The Court can take judicial notice of PTAB documents” without converting a motion to
  dismiss into a motion for summary judgment. mCom IP, LLC v. City Nat’l Bank of Fla., No.
  23-23427, 2024 WL 2892007, at *1 n.1 (S.D. Fla. June 10, 2024) (citing Viskase Corp. v. Am.
  Nat. Can Co., 261 F.3d 1316, 1328 n.2 (Fed. Cir. 2001)); see also Barrday, Inc. v. Lincoln
  Fabrics Inc., No. 22-1903, 2023 WL 7871688, at *2 (Fed. Cir. Nov. 16, 2023) (taking judicial
  notice of the “publicly-accessible ’369 patent file history” not in the record).

                                                   –3–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 10 of 22




           Isaacs’ complaint in this action does not allege that Greenflight ever assigned the RE’847

   to him, and according to the U.S.P.T.O., Greenflight has recorded no further assignments of the

   RE’847. See generally Complaint; Ex. D (RE’847 Assignment History). Instead, the complaint

   admits that Isaacs owns only a “percentage” of the patent, either directly or “indirectly through

   corporate entities that [Isaacs] controls.” Compl. ¶¶ 27, 53, 55.

   C.      The RE’847 Claims a Specific User-Initiated Reverse Call Lookup System

           The RE’847 concerns a “post-page caller name identification system” for reverse lookup

   of caller information by the recipient of an incoming call or text message. RE’847. Although

   the complaint alleges infringement of “Claims 1-10 of the ’847 patent,” the sole claims allowed

   on reissue are claims 7-10. Compl. ¶¶ 75, 78; RE’847; Ex. E (RE’847 Prosecution History,

   Index of Claims, Docket No. 89 (Oct. 21, 2021)); Ex. F (RE’847 Prosecution History, Notice of

   Allowance, Docket No. 92 (Oct. 21, 2021)).

           The RE’847 does not claim to invent the concept of caller ID or reverse lookup, which

   the specification acknowledges existed since at least the 1980s. Instead, the patent claims a

   detailed process for processing user queries for lookup of an incoming call phone number

   requiring an “SS7 interfacing node connected to both a TCP/IP network and an SS7

   communication network,” connection to a user terminal, and an “SS7 communication network

   interface” which is specifically configured to:

        ● receive from the user “a query of a caller name identification (CNAM) database for a
          CNAM based on a telephone number obtained from a paging signal of an SS7 call”;
        ● transmit the received telephone number “in a carrier identity request over the SS7
          communication network interface to one or more line information databases (LIDBs)”;
        ● receive a carrier identity “from the LIDBs over the SS7 communication network
          interface”;
        ● “based on the carrier identity, to forward the query using GR-1188” to one or more
          CNAM databases; and
        ● receive and provide the CNAM to the user terminal.


                                                     –4–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 11 of 22




   RE’847 at Claim 7. The benefit of the claimed invention, according to the specification, is that

   the “standalone system” operates “independent of the end-user’s carrier implementation (or lack

   thereof) of CNAM Caller ID” and instead “interfaces the user directly with the calling party’s

   SS7 SCP-connected CNAM database.” Id. at 2:40-44, 56-57.2

   D.     Isaacs, Greenflight’s CEO, Initiates This Action Pro Se

          Isaacs is the founder and CEO of Greenflight. Compl. ¶ 3. Isaacs initiated this action,

   proceeding pro se, on April 1, 2024. Docket No. 1. The complaint alleges that Isaacs

   “matriculated at the Vanderbilt Law JD program for almost two years,” (Compl. ¶ 27) and that

   “his ‘entire adult life’ has been immersed in litigation.” Compl. ¶ 16. The complaint devotes

   substantial pages to Isaacs’ years-long dispute with Google concerning Greenflight’s OkCaller

   application. Compl. ¶ 9, 12-15, 36-41, 47-51, 67-70. Isaacs served Google with the complaint

   on June 25, 2024. Docket No. 13.

   E.     The Complaint Alleges Only One Application That Practices the Invention of
          RE’847: Greenflight’s Own “OkCaller” Application

          Isaacs’ company, Greenflight, owns and operates the OkCaller.com (“OkCaller”) website

   and related applications. Compl. ¶¶ 3, 6. According to the complaint, the website “permits

   ‘called parties’ who received a text or phone call from an unknown ‘calling party’ to look up the

   name of the person.” Compl. ¶ 6. OkCaller thus “enable[s] users to see the name associated

   with the phone number from which they received a call or text.” Docket No. 1-2, Ex. B


          2
            The specification also identifies a benefit in the form of “significant cost savings” to the
   end user because, “at the time of filing, a commercial implementation of the present invention
   was offered free of charge to the user via smartphone applications or direct web access,”
   appearing to refer to the Greenflight OkCaller application. Id. at 3:3-7; 16-18 (“the calling party
   may opt-out using a form implemented on the privacy policy page of the present invention.”);
   see also Compl. ¶¶ 5, 35, 66.

                                                    –5–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 12 of 22




   (“OkCaller Terms and Conditions”). According to the complaint, Isaacs “founded Okcaller.com

   in 2013,” after which he received the RE’847 patent “for the groundbreaking reverse phone

   search technology the website utilized.” The complaint asserts that “OkCaller only permits

   ‘called parties’ who received a text or phone call from an unknown ‘calling party’ to look up the

   name of the person.” Compl. ¶¶ 1, 6. Isaacs claims he “gave away his patent for free” by

   offering OkCaller as a free service. Compl. ¶¶ 5, 7; OkCaller Terms and Conditions.

   F.     The Complaint Does Not Identify Any Google Device, Application, or Systems—or
          Any Party Device, Application, or System—Alleged to Infringe the RE’847

          Isaacs’ complaint contains 79 paragraphs, only 11 of which reference the asserted

   RE’847. The majority of these 79 paragraphs concern Isaacs’ or his company’s products.

   Compl. ¶¶ 2-8, 11-14, 21, 33-42, 45-51, 61-62, 65-66, 69. The rest contain only conclusory

   allegations of infringement, without identifying what device, application, or system Isaacs

   accuses, or how it allegedly practices any element of the claims. Instead, the complaint vaguely

   claims that Google provides an unnamed “system for reverse phone lookups,” that allegedly

   “includes a third-party CNAM query to return the calling party name requested by the user.”

   Compl. ¶¶ 71-73. The complaint also claims that Google “allowed multiple competing apps on

   the Play Store to infringe the patent” (Compl. ¶ 67), “directly sell[s] infringing apps to

   consumers” (Compl. ¶ 71), “accepts payments for search texts ads of infringing apps and

   websites” (Compl. ¶ 76), and “publishes infringing apps” (Compl. ¶ 77), but does not identify a

   single app on the Google Play Store accused of infringement. The complaint claims that these

   unnamed “apps” or “system” infringe, but fails to say how or where to find any of the claim

   elements. To the contrary, the complaint entirely omits reference to many claim elements. In

   one glaring example, the only independent claims 7 and 9 require “forward[ing] the query using



                                                    –6–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 13 of 22




   GR-1188 to one or more CNAM databases” and thus all asserted claims include this limitation,

   but the term “GR-1188” does not appear in the complaint. RE’847 at Claims 7, 9.

   G.     The Complaint Alleges Infringement of Canceled Claims

          Finally, the complaint alleges infringement of “Claims 1-10 of the ‘847 patent.” Compl.

   ¶¶ 75, 78. But claims 1-6 were not allowed on reissue; the U.S.P.T.O. allowed only claims 7, 8,

   9, and 10. RE’847 at 4:56 to 5:33; Exs. E, F; see also M.P.E.P. § 1455(II) (“All the claims of the

   original patent should appear in the reissue patent, with canceled patent claims being enclosed in

   brackets”).

                                              ARGUMENT

   I.     The Court Lacks Subject Matter Jurisdiction Where, As Here, The Plaintiff Lacks
          Standing to Assert the Patent in Suit

          If the Court determines that it lacks jurisdiction, it must dismiss the complaint. Fed. R.

   Civ. P. 12(h)(3). A “plaintiff bears the burden of proving by a preponderance of the evidence

   that the district court has subject matter jurisdiction.” Toxgon Corp. v. BNFL, Inc., 312 F.3d

   1379, 1383 (Fed. Cir. 2002). “A motion to dismiss for lack of subject matter jurisdiction comes

   in two forms: facial attacks and factual attacks.” DeCurtis LLC v. Carnival Corp., No.

   20-22945, 2021 WL 7539904, at *2 (S.D. Fla. Feb. 9, 2021). In reviewing a facial attack, a court

   “may consider an extrinsic document if it is (1) central to the plaintiff’s claim, and (2) its

   authenticity is not challenged.” Id. at *7 (citing SFM Holdings, Ltd. v. Banc of Am. Sec., LLC,

   600 F.3d 1334, 1337 (11th Cir. 2010)). “Factual attacks, on the other hand, challenge ‘the

   existence of subject matter jurisdiction in fact, irrespective of the pleadings,” and a court will

   consider ‘matters outside the pleadings, such as testimony and affidavits.’” Griffin v. Internal

   Revenue Serv., No. 22-24023, —F. Supp. 3d. —, —, 2024 WL 1717393, at *2 (S.D. Fla. Apr. 22,



                                                     –7–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 14 of 22




   2024) (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990)). “Moreover, ‘[i]n the

   face of a factual challenge to subject matter jurisdiction, the burden is on the plaintiff to prove

   that jurisdiction exists.’” Software Brokers of Am., Inc. v. Doticom Corp., 484 F. Supp. 3d 1205,

   1209 (S.D. Fla. 2020) (quoting OSI, Inc. v. U.S., 285 F.3d 947, 951 (11th Cir. 2002)). Here, the

   complaint admits Isaacs lacks standing, and the extrinsic record confirms this to be the case (see

   supra §§ B, G); the complaint thus fails on both facial and factual grounds.

          Only a patentee may bring an action for patent infringement. 35 U.S.C. § 281; Textile

   Prods., Inc. v. Mead Corp., 134 F.3d 1481, 1483 (Fed. Cir. 1998) (citing 35 U.S.C. § 281). The

   “term patentee includes the original patentee (whether the inventor or original assignee) and

   ‘successors in title.’” Lone Star Silicon Innovations LLC v. Nanya Tech. Corp., 925 F.3d 1225,

   1229 (Fed. Cir. 2019). The identity of the “patentee” is determined by who retains “all

   substantial rights under the patent.” Azure Networks, LLC v. CSR PLC, 771 F.3d 1336, 1342

   (Fed. Cir. 2014), vacated on other grounds, 575 U.S. 959 (2015).

          Isaacs’ complaint confirms that he cannot demonstrate that he owns “all substantial

   rights” to the RE’847 patent at the time of the filing of this action. Instead, the complaint admits

   he holds only a “percentage” of rights. Compl. ¶ 27. Worse still, the complaint implies that this

   percentage relates not to an assignment of patent rights, but instead Isaacs’ share of ownership in

   Greenflight itself: “indirectly through corporate entities that [Isaacs] controls.” Compl. ¶ 53.

   Without an assignment of all substantial rights—“that is, a transfer of title in the patent”—Isaacs

   lacks constitutional standing to sue Google for patent infringement in his own name. Intell.

   Prop. Dev., Inc. v. TCI Cablevision of Cal., Inc., 248 F.3d 1333, 1345 (Fed. Cir. 2001).




                                                     –8–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 15 of 22




          Isaacs’ complaint does not address the assignment history of the RE’847, nor his

   declarations to the U.S.P.T.O. that Greenflight is “[t]he assignee of the entire right, title, and

   interest” in the reissue.3 See supra § B. The complaint likewise does not address that

   Greenflight is listed as the sole applicant on the face of RE’847. Without an assignment of

   Greenflight’s ownership prior to filing suit, Isaacs lacks standing to bring suit. See Gaia Techs.,

   Inc. v. Reconversion Techs., Inc., 93 F.3d 774, 777 (Fed. Cir. 1996) (noting that a plaintiff has

   standing only if it can establish that “it was the assignee of the [patent] at the time the suit was

   filed”); see also Baggage Airline Guest Servs., Inc. v. Roadie, Inc., No. 17-1253, 2017 WL

   10084146, at *2 (M.D. Fla. Sept. 1, 2017) (citing Abraxis Biosciences, Inc. v. Navinta LLC, 625

   F.3d 1359, 1364 (Fed. Cir. 2010)). Because Isaacs does not own the RE’847, he lacks

   constitutional standing to maintain this action, and the Court must accordingly dismiss it. See

   Boldstar Tech., LLC v. Home Depot U.S.A., Inc., 560 F. Supp. 2d 1275, 1276-77 (S.D. Fla. 2008)

   (citing Morrow v. Microsoft Corp., 499 F.3d 1332, 1338-1341 (Fed. Cir. 2007)).

   II.    The Complaint Also Fails to State a Claim for Relief Under 12(b)(6)

          Should the Court find Constitutional standing and proceed to evaluate the allegations in

   the complaint, it should dismiss those allegations for failure to state a claim. To proceed beyond


          3
             Isaacs’ declaration cites to the January 2016 assignment agreement, recorded as
   Assignment Reel/Frame No. 037489/0124. Ex. A. The agreement states that it assigns “the
   entire right, title and interest” in the original ’698 patent, but includes a faint marking of the
   number “25%” over the word “entire.” Isaacs later attested under 37 CFR 3.73(c) that
   Greenflight owns “the entire right, title, and interest” in the reissue application. Ex. C. In any
   event, to the extent the “25%” marking has any effect on ownership of the RE’847, Isaacs would
   still lack standing to bring suit because “a co-owner acting alone will lack standing.” Cobra
   Int’l, Inc. v. BCNY Int’l, Inc., No. 05-61225, 2015 WL 10793137, at *2 (S.D. Fla. Nov. 9, 2015)
   (quoting Israel Bio-Eng’g Project v. Amgen, Inc., 475 F.3d 1256, 1265 (Fed. Cir. 2007)). Should
   the Court find that Isaacs possesses a percentage interest in the RE’847, as a direct co-owner of
   the patent and not simply as an owner of Greenflight, Google respectfully requests the Court
   order joinder of Greenflight under Fed. R. Civ. P. 12(b)(7).

                                                     –9–
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 16 of 22




   a motion to dismiss, a plaintiff must plead sufficient facts that show something “more than a

   sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009). “It is factual content that gives a claim facial plausibility.” Bedwell v. Braztech Intl.,

   L.C., No. 17-22335, 2017 WL 4810599, at *2 (S.D. Fla. Oct. 25, 2017). While pro se complaints

   are “held to less stringent standards than formal pleadings drafted by attorneys,” even “a pro se

   plaintiff must still meet minimal standards to avoid dismissal under Rule 12(b)(6).” Ottah v. Fiat

   Chrysler, 884 F.3d 1135, 1141 (Fed. Cir. 2018) (quoting Erickson v. Pardus, 551 U.S. 89, 94

   (2007)); see also Askan v. Faro Techs., Inc., No. 23-920, 2023 WL 8868494, at *1 (M.D. Fla.

   Dec. 22, 2023). To survive a motion to dismiss, “the complaint’s allegations must include ‘more

   than an unadorned, the-defendant-unlawfully-harmed-me accusation.’” Thermolife Int’l, LLC v.

   Vitamin Shoppe, Inc., No. 16-60693, 2016 WL 6678525, at *2 (S.D. Fla. June 8, 2016) (quoting

   Ashcroft, 556 U.S. at 678).

          “[A]n allegation of direct patent infringement is insufficient under Twombly and Iqbal if

   it simply recit[es] some of the elements of a representative claim and then describ[es] generally

   how an accused product operates, without specifically tying the operation to any asserted claim

   or addressing all of the claim requirements.” Glob. Tech LED, LLC v. Every Watt Matters, LLC,

   No. 15-61933, 2016 WL 6682015, at *2 (S.D. Fla. May 19, 2016) (internal quotation marks

   omitted); see also Lead Creation, Inc. v. P’ships & Unincorporated Ass’ns Identified on Schedule

   A, No. 23-49, 2023 WL 168779, at *2-3 (M.D. Fla. Jan. 12, 2023). Thus, even if the complaint

   identified an accused product—which it does not—and even if the complaint “describe[d]

   generally how an accused product operates”—which it does not—it would nevertheless fail

   without tying that alleged operation to the requirements of the asserted claims.




                                                   – 10 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 17 of 22




          A.      Plaintiff’s Direct Infringement Claims Should be Dismissed

          The complaint fails to identify what products or services are accused of infringing any

   claim, and thus cannot survive. See supra § F. A claim of patent infringement requires at the

   very least the identification of what instrumentality is accused. See mCom IP, LLC v. City Nat’l

   Bank of Fla., No. 23-23427, 2024 WL 2892007, at *5 (S.D. Fla. June 10, 2024). Courts in this

   District have dismissed complaints where, as here, “Plaintiff does not allege any facts concerning

   the accused devices” and failed to describe “even in general terms, how the accused devices

   function.” Hawk Tech. Sys. v. Brickell Fin. Ctr., No. 13-24005, 2014 WL 11946879, at *1 (S.D.

   Fla. Feb. 27, 2014). “Rule 11 requires that Plaintiff have at least some knowledge about how the

   accused device infringes on the patent such that recovery under a cause of patent infringement is

   justified.” Id.; see also, e.g., Askan v. Faro Techs., Inc., No. 23-920, 2023 WL 8868494, at *2

   (M.D. Fla. Dec. 22, 2023). The complaint provides Google with no notice of what products or

   features Isaacs intends to put at issue (see supra § F); rendering any investigation of the

   allegations impossible.4

          The complaint further fails to identify the asserted claim elements, omits substantial

   claim language entirely, and does not tie the claim language to the operation of any accused

   functionality. See supra § F. Courts in this District have dismissed complaints where a plaintiff

   failed to map each of the claim elements against the accused instrumentality, even where the

   plaintiffs charted other claims. Thermolife Int’l, LLC v. Vitamin Shoppe, Inc., No. 16-60693,



          4
             Assuming this matter survives dismissal, Google may seek transfer of this action from
   this District to a more convenient venue under 35 U.S.C. § 1404. Without knowing which
   products are accused, Google cannot determine what evidence will likely be relevant, and
   whether some or all of that evidence is located in this or another District, and is thus unable to
   bring a transfer motion at this time.

                                                   – 11 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 18 of 22




   2016 WL 6678525, at *2 (S.D. Fla. June 8, 2016) (finding the complaint did “not give

   Defendants fair notice—or any notice at all—as to patent infringement claims based on claims 2

   or 3 of the Patent, and this is woefully insufficient to raise a right to relief above the speculative

   level.”). The complaint in this action makes no attempt to connect the patent claims to any

   theory of infringement, plausible or otherwise, and should accordingly be dismissed.

          B.       The Court Should Dismiss Plaintiff’s Claims Regarding Canceled Claims 1-6
                   With Prejudice

          Plaintiff cannot assert patent claims that have been canceled, see supra § G, and thus the

   complaint’s allegations concerning infringement of claims 1-6 should be dismissed with

   prejudice. Fresenius USA, Inc. v. Baxter Int’l, Inc., 721 F.3d 1330, 1340 (Fed. Cir. 2013) (“when

   a claim is canceled, the patentee loses any cause of action based on that claim”).

          C.       The Court Should Dismiss Plaintiff’s Indirect Infringement Claims

          Plaintiff’s claims for contributory infringement are defective and cannot survive Rule

   12(b)(6). First, the complaint fails to sufficiently allege direct infringement, see supra § II.A,

   which is fatal to any claim for indirect infringement. Intell. Ventures I LLC v. Motorola Mobility

   LLC, 870 F.3d 1320, 1322 (Fed. Cir. 2017) (“[A] finding of direct infringement is predicate to

   any finding of indirect infringement”); Enplas Display Device Corp. v. Seoul Semiconductor Co.,

   Ltd., 909 F.3d 398, 407 (Fed. Cir. 2018); Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1354-55

   (Fed. Cir. 2018). The Court can and should dismiss Isaacs’ indirect infringement claims for this

   reason alone.

          Even had the plaintiff adequately pled direct infringement, the complaint lacks sufficient

   facts to support a claim for induced or contributory infringement. In particular, for these claims,




                                                    – 12 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 19 of 22




   the complaint provides that Google “contributorily infringed and induced others to infringe at

   Claims 1-10 of the patent” by

          making, having made, importing, using, offering for sale, and/or selling apps on the
          Google Play Store that are performing, implementing, and carrying out processes and
          methods specified in the patent

   Or

          by providing to users a system for reverse phone lookups, described above, that has no
          non-infringing uses.

   Compl. ¶¶ 73, 75. These bare legal conclusions cannot support claims for indirect infringement.

   Hewlett-Packard Co. v. Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir. 1990); see also

   DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (allegations of specific intent

   require factual “evidence of culpable conduct, directed to encouraging another’s infringement,

   not merely that the inducer had knowledge of the direct infringer’s activities.”).

          The complaint also provides that Google indirectly infringes by

          accept[ing] payments for search texts [sic] ads of infringing apps and websites and then
          preferenc[ing] those infringing products above Plaintiff’s own apps and websites.

   And

          induces infringement through a variety of anticompetitive behaviors, including
          pay-for-play ranking and encouraging Adwords/Ads expenditure in exchange for organic
          search referrals.

   Compl. ¶¶ 72, 76. Setting aside the complaint’s failure to name allegedly “infringing apps and

   websites,” these facts, even if plausible, do not support claims of indirect infringement. See CR

   Bard, Inc. v. Advanced Cardiovascular Sys., 911 F. 2d 670, 675 (Fed. Cir. 1990) (contributory

   infringement requires “actively and knowingly aiding and abetting another’s direct

   infringement.”); nCube Corp. v. Seachange Int’l, Inc., 436 F.3d 1317, 1324 (Fed. Cir. 2006)




                                                  – 13 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 20 of 22




   (“[P]roof of actual intent to cause the acts which constitute the infringement is a necessary

   prerequisite to finding active inducement.”); Addiction & Detoxification Inst. LLC v. Carpenter,

   620 F. App’x 934, 938 (Fed. Cir. 2015) (“[S]imply recit[ing] the legal conclusion that

   Defendants acted with specific intent” is insufficient to plead “facts that would allow a court to

   reasonably infer that Defendants had the specific intent to induce infringement.”).

          D.      Plaintiff Does Not Allege Facts to Support Claims of Willful Infringement

          The complaint alleges that Google willfully infringes because it is “aware of the reissue

   patent issuance, and the underlying infringement claims, but still publishes infringing apps.”

   Compl. ¶ 77. The complaint does not identify the “infringing apps” in question, or explain how

   any apps infringe any valid claim, stating only that Isaacs “informed Google LLC that such

   infringement takes place.” Compl. ¶ 68.

          To plead willful infringement, the complaint must “assert that the defendant had

   knowledge of the patent and of his infringement.” Trebor Indus., Inc. v. Regatta AS, No.

   10-60371, 2010 WL 11505130, at *1 (S.D. Fla. June 15, 2010) (citing Sentry Prot. Prod. v. Eagle

   Mfg., 400 F.3d 910, 918 (Fed. Cir. 2005)). First, the complaint lacks any facts to support direct

   infringement (see supra §§ F, II.A), and the Court can and should dismiss the willfulness claims

   on this ground alone. See Glob. Tech Led, LLC v. Every Watt Matters, LLC, No. 15-61933, 2016

   WL 6682015, at *4 (S.D. Fla. May 19, 2016) (citing In re Bill of Lading Transmission &

   Processing Sys. Pat. Litig., 681 F.3d 1323 (Fed. Cir. 2012)).

          The complaint alleges pre-suit knowledge of the RE’847 because “Defendant has been

   made aware of the reissue patent issuance, and the underlying infringement claims, but still

   publishes infringing apps.” Compl. ¶ 77. Nowhere does the complaint identify the “infringing




                                                  – 14 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 21 of 22




   apps” or “underlying infringement claims” of which Google was allegedly made aware. See

   supra § F. These barebones allegations “do not provide the Court with an adequate basis to draw

   an inference of plausible culpability.” Universal City Studios v. Nissim Corp., No. 14-81344,

   2015 WL 1124704, at *5 (S.D. Fla. Mar. 12, 2015); see also Deere & Co. v. AGCO Corp., No.

   18-827, 2019 WL 668492, at *6-7 (D. Del. Feb. 19, 2019) (dismissing willfulness allegations

   where “the amended complaints do not allege that the letter identified the [accused products]; nor

   do the amended complaints allege that the letter stated that (let alone explained how) the

   combination of [the accused products] infringe the four patents asserted”).

                                            CONCLUSION

          For the foregoing reasons, Google respectfully requests that this Court dismiss this action

   under Federal Rule of Civil Procedure 12(b)(1). Should the Court find it has subject matter

   jurisdiction, Google respectfully requests an Order dismissing Plaintiff’s complaint for failing to

   state a claim upon which relief can be granted under Fed. R. Civ. P. 12(b)(6), with prejudice at

   least as to claims 1-6 of the RE’847.

   Date: July 30, 2024                               Respectfully submitted,

                                                       /s/ Edward M. Mullins
                                                     ___________________________________
                                                     Edward M. Mullins (Florida Bar No. 863920)
                                                     Ana M. Barton (Florida Bar No. 85721)
                                                     REED SMITH LLP
                                                     200 South Biscayne Boulevard, Suite 2600
                                                     Miami, Florida, 33131
                                                     +1 (786) 747-0200
                                                     +1 (786) 747-0299 facsimile
                                                     emullins@reedsmith.com
                                                     abarton@reedsmith.com

                                                     Matthew S. Warren*
                                                     (pro hac vice motion to be filed)
                                                     Erika H. Warren*
                                                     (pro hac vice motion to be filed)


                                                  – 15 –
Case 9:24-cv-80395-RLR Document 16 Entered on FLSD Docket 07/30/2024 Page 22 of 22




                                         Madeline A. Woodall*
                                         (pro hac vice motion to be filed)
                                         WARREN KASH WARREN LLP
                                         2261 Market Street, No. 606
                                         San Francisco, California, 94114
                                         +1 (415) 895-2940
                                         +1 (415) 895-2964 facsimile
                                         24-90395@cases.warrenlex.com

                                         Attorneys for Defendant Google LLC




                                       – 16 –
